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       Attorneys for the State Defendants




                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF OREGON
                                 PORTLAND DIVISION

GREAT NORTHERN RESOURCES, INC.,                     Case No. 3:20-cv-01866-IM (L)
DYNAMIC SERVICE FIRE AND
SECURITY, LLC, and WALTER VAN
LEJA, on behalf of themselves and others            NOTICE OF ERRATA RE JOINT
similarly situated                                  MOTION FOR PRELIMINARY
                                                    APPROVAL OF CLASS ACTION
              Plaintiff,                            SETTLEMENT [DKT. NO. 85]

       vs.

KATY COBA, in her Official Capacity as
State Chief Operating Officer and Director of
the Oregon Department of Administrative
Services; OREGON DEPARTMENT OF
ADMINISTRATIVE SERVICES; THE
CONTINGENT; BLACK UNITED FUND
OF OREON; DOES 1-10,

              Defendants.




NOTICE OF ERRATA RE DKT. NO. 85
            Case 3:20-cv-01866-IM     Document 91       Filed 03/16/21    Page 2 of 2




         TO THE HONORABLE COURT AND THE PARTIES:

         PLEASE TAKE NOTICE that the signature page of the Joint Motion of Plaintiff Great

Northern Resources, Inc., State Defendants, The Contingent and Black United Fund for

Preliminary Approval of Class Action Settlement (Dkt. No. 85) incorrectly identified Keating

Jones Hughes, P.C. as counsel to the State Defendants. They are, in fact, counsel to Black United

Fund of Oregon, Inc. only.



Dated: March 16, 2021                       ELLEN ROSENBLUM
                                            ATTORNEY GENERAL
                                            FOR THE STATE OF OREGON

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                                            By /s/ Clifford S. Davidson
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                                                    Oregon Department of Administrative
                                                    Services, and Katy Coba, in her Official
                                                    Capacity as State Chief Operating Officer
                                                    and Director of the Oregon Department of
                                                    Administrative Services




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